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     David Brandenburg                                                       March 18, 2025
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·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· · SOUTHWEST AIRLINES· · · · ·§
· · · COMPANY· · · · · · · · · · §
·4· · · · · · · · · · · · · · · ·§
· · · · · · · · ·PLAINTIFF,· · · §
·5· · · · · · · · · · · · · · · ·§
· · · VS.· · · · · · · · · · · · § CIVIL ACTION
·6· · · · · · · · · · · · · · · ·§
· · · THE CITY OF SAN ANTONIO,· ·§ NO.: 5:24-cv-01085-XR
·7· · TEXAS AND JESUS SAENZ, IN §
· · · HIS OFFICIAL CAPACITY AS· ·§
·8· · DIRECTOR OF AIRPORTS FOR· ·§
· · · THE CITY OF SAN ANTONIO,· ·§
·9· · TEXAS,· · · · · · · · · · ·§
· · · · · · · · · · · · · · · · ·§
10· · · · · · · ·DEFENDANTS.· · ·§

11
· · · · · · ******************************************
12· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

13· · · · · · · · · · · ·DAVID BRANDENBURG

14· · · · · · · · · · · · MARCH 18, 2025

15· · · · · ******************************************

16· · · · · ORAL AND VIDEOTAPED DEPOSITION OF DAVID

17· ·BRANDENBURG, produced as a witness at the instance of

18· ·the PLAINTIFF, and duly sworn, was taken in the

19· ·above-styled and numbered cause on MARCH 18, 2025, from

20· ·11:05 a.m. to 3:41 p.m., before Angie Lozano, CSR, in

21· ·and for the State of Texas, reported by machine

22· ·shorthand, pursuant to the Texas Rules of Civil

23· ·Procedure, and the provisions stated on the record or

24· ·attached hereto.

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10· · · 202.552.2388, rgoldberg@clarkhill.com
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· · · · 2121 N. Pearl, Floor 9                                  14· ·Exhibit 1· ·Ordinance Approving a Professional
14· · · Dallas, Texas· 75201                                    15· · · · · · · ·Services Agreement with ANSER Advisory
· · · · 817.371.9978, 214.453.6431
15· · · lslifer@winston.com, ewilkinson@winston.com             16· · · · · · · ·Consulting, LLC· · · · · · · · · · · · ·11
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· · · · Washington, DC· 20006                                   20· · · · · · · ·Volume 2· · · · · · · · · · · · · · · · 18
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·4· ·Exhibit 18· E-mails dated 01/23/24 to John Trupiano,            ·4· ·BY MR. MORALES:
·5· · · · · · · ·Keith O'Connor· · · · · · · · · · · · · 104         ·5· · · Q.· Sir, will you please state your full name?
·6· ·Exhibit 19· E-mails dated 02/29/24 to Dave Brandenburg,         ·6· · · A.· David Alex Brandenburg.
·7· · · · · · · ·Michael Garnier, Timothy O'Krongley· · ·106         ·7· · · Q.· Mr. Brandenburg, my name is Lawrence Morales.· Do
·8· ·Exhibit 20· E-mails dated 04/30/24 to Michael Garnier,          ·8· ·you understand that I represent Southwest Airlines in
·9· · · · · · · ·Jennifer Sanchez· · · · · · · · · · · · 115         ·9· ·this lawsuit?
10· ·Exhibit 21· E-mails dated 03/28/24 to Jesus Saenz,              10· · · A.· I do.
11· · · · · · · ·Dave Brandenburg, Michael Garnier,                  11· · · Q.· Okay.· And before, just a few minutes ago, we had
12· · · · · · · ·Timothy O'Krongley· · · · · · · · · · · 117         12· ·never met before; is that correct?
13· ·Exhibit 22· E-mails dated 04/01/24 to Jesus Saenz· ·121         13· · · A.· Correct.
14· ·Exhibit 23· E-mails dated 05/01/24 to Michael                   14· · · Q.· All right.· Have you ever had your deposition
15· · · · · · · ·Garnier· · · · · · · · · · · · · · · · ·130         15· ·taken before?
16· ·Exhibit 24· Typewritten notes· · · · · · · · · · · ·146         16· · · A.· Yes.
17· ·Exhibit 25· SAT Executive Steering Committee,                   17· · · Q.· Okay.· So, you're familiar with the process?
18· · · · · · · ·May 3, 2024· · · · · · · · · · · · · · ·159         18· · · A.· Yes.
19· ·Exhibit 26· SAT AULA Executive Summary                          19· · · Q.· You understand you're under oath?
20· · · · · · · ·September 16, 2024· · · · · · · · · · · 172         20· · · A.· Yes.
21· ·Exhibit 27· Summary of Decision-Making Process for              21· · · Q.· You understand that the Court Reporter is taking
22· · · · · · · ·Post-DBO Gate & Club Locations· · · · · 175         22· ·down my questions and your answers?
23· ·Exhibit 28· SAT Terminal A Decision· · · · · · · · ·180         23· · · A.· Yes.
24· ·Exhibit 29· Exhibit M, Terminal A/B Renovations· · ·181         24· · · Q.· To help the Court Reporter, if you could allow me
25· ·Exhibit 30· Exhibit M, Terminal A/B Renovations· · ·186         25· ·to finish asking my question, I will also allow you to

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·1· · · · · · · · · · PRELIMINARY PROCEEDINGS                        ·1· ·finish your answer before I start, so we're not talking
·2· · · · · · · ·THE VIDEOGRAPHER:· We are now on the record         ·2· ·over each other.· Does that work for you?
·3· ·on March 18th, 2025 at 11:05 a.m.· This is the                  ·3· · · A.· Yes.
·4· ·deposition of David Brandenburg being taken in San              ·4· · · Q.· All right.· If you have any uncertainty or
·5· ·Antonio, Texas, in the matter of Southwest Airlines             ·5· ·questions about my question, if anything is unclear, let
·6· ·versus The City of San Antonio, Texas, et al.· Filed in         ·6· ·me know, and I'll do my best to rephrase it.· Okay?
·7· ·the U.S. District Court for the Western District of             ·7· · · A.· I will.
·8· ·Texas, San Antonio Division.· And will all Counsel              ·8· · · Q.· And we had a four hour limit today to accommodate
·9· ·please state your appearances for the record.                   ·9· ·Counsel's schedule.· We're going to try to take as short
10· · · · · · · ·MR. MORALES:· Lawrence Morales for Southwest        10· ·of breaks as we need to to get everybody out on time.
11· ·Airlines.                                                       11· ·If you need a break for some reason, let me know.
12· · · · · · · ·MS. SLIFER:· LeElle Slifer --                       12· · · · · I only ask that you finish answering the question
13· · · · · · · ·MR. GOLDBERG:· Roy Goldberg -- I'm sorry.           13· ·that I've asked at that time, and then we can take a
14· ·Go ahead.                                                       14· ·break after.· Does that work for you?
15· · · · · · · ·MS. SLIFER:· Sorry.· Go ahead, Roy.                 15· · · A.· Sure.
16· · · · · · · ·MR. GOLDBERG:· Roy Goldberg, also, for              16· · · Q.· Okay.· Sir, what did you do to prepare for your
17· ·Southwest Airlines.                                             17· ·deposition today?
18· · · · · · · ·MS. SLIFER:· LeElle Slifer with Winston             18· · · A.· Reviewed documents.
19· ·Strawn, on behalf of the Deponent.                              19· · · Q.· Okay.· Did you have -- and I don't want to ask
20· · · · · · · ·MR. PILSK:· Eric Pilsk from Kaplan Kirsch,          20· ·about any specific conversations you had with Counsel
21· ·on behalf of Defendants.                                        21· ·that represents you, but did you have a chance to meet
22· · · · · · · ·MS. KLUN:· Debbie Klun, on behalf of the            22· ·with Counsel?
23· ·Defendants.                                                     23· · · A.· I did.
24· · · · · · · ·THE VIDEOGRAPHER:· Will the Court Reporter          24· · · Q.· All right.· And did you have a chance to meet
25· ·please swear in the Witness.                                    25· ·with Counsel for the City of San Antonio?




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·1· ·sent this to you on May 1st, 2024.· Is this the first             ·1· ·have a passenger profile that has a high percentage of
·2· ·time that you had seen it?                                        ·2· ·leisure passengers?
·3· · · A.· Yes.                                                       ·3· · · A.· It makes sense.
·4· · · Q.· We know that there was a meeting at the ESC on             ·4· · · Q.· And for example, Southwest has more leisure
·5· ·May 3rd, 2024?                                                    ·5· ·passengers on percentage compared to American and
·6· · · A.· Yes.                                                       ·6· ·United.· Would you agree with that?
·7· · · Q.· Right?· And a summary of this chart -- I'm sorry,          ·7· · · A.· I have no direct knowledge of that.
·8· ·a summary of these worksheets were presented as part of           ·8· · · Q.· Nevertheless, kind of considering whether an
·9· ·that presentation, correct?                                       ·9· ·airline has more business passengers or leisure
10· · · A.· I believe so.                                              10· ·passengers, do you have a view on whether that is a
11· · · Q.· All right.· In your other experience, you                  11· ·proper or improper factor for an airport to consider
12· ·mentioned that we were looking at the e-mail where you            12· ·when making gating assignments?
13· ·said "Here are the priorities, based on my experience."           13· · · · · · · ·MR. PILSK:· Object to the form.· You can
14· ·You know, one is load balancing, and then, two,                   14· ·answer.
15· ·passenger experience, and then three is carrier wants?            15· · · A.· I don't understand the question.
16· · · A.· Yes.                                                       16· · · Q.· (BY MR. MORALES) You don't understand what
17· · · Q.· You take care of one and two, and three will be            17· ·"passenger profile" means or "improper," "proper," what
18· ·fine, right?                                                      18· ·else do you not understand?
19· · · A.· Yes.                                                       19· · · A.· I don't understand what they mean by "passenger
20· · · Q.· Are you aware of any other situations where the            20· ·profile" as it relates to "fit."
21· ·factors that we see in Exhibit Number 23 were considered          21· · · Q.· Okay.· Let's take off the label.· Do you believe
22· ·when making gating assignments at an airport facility?            22· ·that whether an airline has more business or leisure
23· · · A.· No.                                                        23· ·passengers is a proper or improper factor to consider
24· · · Q.· You're not aware of any?                                   24· ·when making gating decisions at an airport?
25· · · A.· Correct.                                                   25· · · · · · · ·MS. SLIFER:· Object to form.

                                                            Page 143                                                            Page 145
·1· · · Q.· Do you have any view, for example, on whether an           ·1· · · · · · · ·MR. PILSK:· Join.· Go ahead.
·2· ·airline's fit into a particular airport is a proper or            ·2· · · A.· Only to the extent it impacts the balancing of
·3· ·improper factor to be considered when making gating               ·3· ·the terminal.
·4· ·decisions?                                                        ·4· · · Q.· (BY MR. MORALES) And do you have any reason to
·5· · · · · · · ·MR. PILSK:· Object to the form.· You can              ·5· ·believe that an air carrier's mix of business versus
·6· ·answer.                                                           ·6· ·leisure passengers impacts balancing?
·7· · · A.· I don't understand what you mean by "fit."                 ·7· · · A.· Yes.
·8· · · Q.· (BY MR. MORALES) Well, fortunately, somebody               ·8· · · Q.· How so?
·9· ·defined it for us.· If we look at Exhibit Number 23, the          ·9· · · A.· Depending on peak-on-peak arrivals and
10· ·third page, it's CoSA-16199.· Do you see that?                    10· ·departures, the mix of passengers is very important for
11· · · A.· 16199, yes.                                                11· ·check-in bags, curbside utilization, and security
12· · · Q.· It says "'Fit' into SAT relates to desirability            12· ·checkpoint.· For example, typically, your business
13· ·of passenger profile, business, leisure, mix, et cetera,          13· ·passenger for the Corgan analysis will, either, use an
14· ·and airline brand position, network, ULCC, established,           14· ·Uber or a taxi, where leisure will park in the parking
15· ·start-up, et cetera."· Do you see that?                           15· ·garage.
16· · · A.· I do.                                                      16· · · · · So, that was all part of the modeling that we
17· · · Q.· Do you have any view on whether considering                17· ·asked Corgan to look into on what that mix would look
18· ·"fit," as it's defined in Exhibit Number 23 is proper or          18· ·like, which led to their recommendation.
19· ·improper when making gating decisions at an airport?              19· · · Q.· Okay.· What about whether an airline is a
20· · · · · · · ·MR. PILSK:· Object to the form.                       20· ·network, a ULCC, it's an Ultra Low Cost Carrier,
21· · · A.· I don't understand what they mean by "fit" here.           21· ·established or start-up?· What impact does that have, if
22· ·I have a different definition of "fit."                           22· ·any, on balancing issues?
23· · · Q.· (BY MR. MORALES) Okay.· Well, they say it relates          23· · · A.· No impact.
24· ·to desirability of passenger profile, business, leisure,          24· · · Q.· No impact?
25· ·mix, et cetera.· Do you understand that some airlines             25· · · A.· None.




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